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 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                          §
                                                  §
versus                                            §    CASE NO. 1:14-CR-65(1)
                                                  §
BRIDGET MARIE BERGERON                            §

     MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

         The Court referred this matter to the United States Magistrate Judge Keith F. Giblin for the

administration of a guilty plea hearing. Judge Giblin conducted a hearing and issued his findings

of fact and recommendation on the defendant’s guilty plea (#58).             The magistrate judge

recommended that the Court accept defendant’s guilty plea and the plea agreement. He further

recommended that the Court finally adjudge defendant as guilty on Count One of the Indictment.

         The parties have not objected to the magistrate judge’s findings. The Court accepts the

findings in the report and recommendation. The Court ORDERS that Judge Giblin’s report (#58)

is adopted. The defendant’s guilty plea is accepted at this time. The Court defers acceptance of the

plea agreement until after reviewing the presentence report. It is finally ORDERED that defendant,

Bridget Marie Bergeron, is adjudged guilty on Count One of the Indictment charging violations of

Title 21, .United States Code, Section 846.
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 5th day of January, 2015.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
